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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

                                                                      )
    In re:                                                            )     Chapter 11
                                                                      )
    YELLOW CORPORATION, et al.,1                                      )     Case No. 23-11069 (CTG)
                                                                      )
                                   Debtors.                           )     (Jointly Administered)
                                                                      )
                                                                      )     Re: Docket No. 1365

        CERTIFICATION OF NO OBJECTION REGARDING FIRST QUARTERLY
      APPLICATION FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES
        OF PACHULSKI STANG ZIEHL & JONES LLP, AS CO-COUNSEL FOR THE
          DEBTORS AND DEBTORS IN POSSESSION, FOR THE PERIOD FROM
                  AUGUST 6, 2023 THROUGH OCTOBER 31, 2023

                      The undersigned hereby certifies that, as of the date hereof, he has received no

answer, objection or other responsive pleading to the relief requested in the First Quarterly

Application for Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones

LLP, As Co-Counsel for the Debtors and Debtors in Possession, for the Period From August 6,

2023 Through October 31, 2023 (the “Application”) [Docket No. 1365] filed on December 13,

2023. The undersigned further certifies that he has caused the Court’s docket in this case to be

reviewed and no answer, objection or other responsive pleading to the relief requested in the

Application appears thereon. Pursuant to the Notice of First Quarterly Application for

Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, As Co-

Counsel for the Debtors and Debtors in Possession, for the Period From August 6, 2023




1      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
       place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
       Overland Park, Kansas 66211.




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Through October 31, 2023 (the “Notice”), responses to the Application were to be filed and

served no later than January 3, 2024 at 4:00 p.m. prevailing Eastern Time.

                   A HEARING ON THE APPLICATION WILL BE HELD ON JANUARY 22,

2024 AT 2:00 P.M. BEFORE THE HONORABLE CRAIG T. GOLDBLATT, UNITED STATES

BANKRUPTCY COURT JUDGE, AT THE UNITED STATES BANKRUPTCY COURT FOR

THE DISTRICT OF DELAWARE, 824 MARKET STREET, 3RD FLOOR, COURTROOM NO.

7, WILMINGTON, DELAWARE 19801.


Dated: January 8, 2024
Wilmington, Delaware

/s/ Peter J. Keane
Laura Davis Jones (DE Bar No. 2436)            Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)            David Seligman, P.C. (admitted pro hac vice)
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